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                           United States District Court
                                NORTHERN    DISTRICT OF TEXAS
                                       DALLAS DIVISION

 OCWEN LOAN SERVICING, LLC                      §

 v.                                             f        CIVIL ACTION NO. 3:18-CV-1197-S

 KINGMAN HOLDINGS, LLC, and                     :
 GAYNELLE IHMS                                  §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

         The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The Court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the Court ACCEPTS      the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge.

         SO ORDERED.

         SIGNED October 10, 2024.




                                                     jC obyup—
                                                    UNITED STATES DISTRICT JUDGE
